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                Entered on Docket
            ___________________________________________________________________
               5July 21, 2014
                     6   ALAN R. SMITH, ESQ. #1449
                         HOLLY E. ESTES, ESQ. #11797
                     7   Law Offices of Alan R. Smith
                         505 Ridge Street                                                                      ELECTRONICALLY LODGED
                     8   Reno, Nevada 89501                                                                         July 16, 2014
                         Telephone (775) 786-4579
                     9   Facsimile (775) 786-3066
                         Email: mail@asmithlaw.com
                 10      Attorney for Debtors
                         ANTHONY THOMAS and WENDI
                 11      THOMAS and AT EMERALD, LLC
                 12
                 13
                 14                                          UNITED STATES BANKRUPTCY COURT
                 15                                                         DISTRICT OF NEVADA
                 16                                                                     —ooOoo—
                 17      In Re:                                                                    Case No. BK-N-14-50333-BTB
                                                                                                   Case No. BK-N-14-50331-BTB
                 18      ANTHONY THOMAS and                                                        Chapter 11 Cases
                         WENDI THOMAS,
                 19                                                                                [Jointly Administered]
                 20      AT EMERALD, LLC,                                                          ORDER APPROVING STIPULATION
                                                                                                   TO CONTINUE HEARINGS ON US
                 21                                                                                TRUSTEE’S OBJECTIONS TO
                                                                                                   DEBTOR’S CLAIMS OF
                 22                            Debtors.                                            EXEMPTIONS AND US TRUSTEE’S
                                                                                                   MOTION TO DESIGNATE CASE AS
                 23                                                                                SMALL BUSINESS CASE
                 24                                                                                VACATE
                                                                                                   Old Hearing Date: July 30, 2014
                 25                                                                                Old Hearing Time: 2:00 p.m.
                 26                                                                                New Hearing Date: September 10, 2014
                                                                                                   New Hearing Time: 2:00 p.m.
                 27      ______________________________/
                 28                 The Court having considered the Stipulation To Continue Hearing On US Trustee’s
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
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                          Case 14-50333-gs                   Doc 134           Entered 07/21/14 11:18:11       Page 2 of 2



                     1   Objections To Debtor’s Claims Of Exemptions And US Trustee’s Motion To Designate Case
                     2   As Small Business Case (the “Stipulation”) entered into between Debtors, ANTHONY
                     3   THOMAS and WENDI THOMAS, by and through their counsel, Holly E. Estes, Esq., of the
                     4   Law Offices of Alan R. Smith, and the United States Trustee, by and through her counsel
                     5   William B. Cossitt, Esq., filed herein on July 16, 2014 as Doc. 122, and good cause
                     6   appearing,
                     7              IT IS HEREBY ORDERED that the Stipulation is approved and the hearing currently
                     8   scheduled for July 30, 2014 at 2:00 p.m. shall be continued to September 10, 2014 at 2:00
                     9   p.m.
                 10                 IT IS HEREBY FURTHER ORDERED that the hearing scheduled for July 30, 2014
                 11      at 2:00 p.m. shall be vacated.
                 12                 IT IS SO ORDERED
                 13      PREPARED AND SUBMITTED BY:
                 14      LAW OFFICES OF ALAN R. SMITH
                 15      By:     /s/ Holly E. Estes
                           HOLLY E. ESTES, ESQ.
                 16        Attorney for Debtors
                 17
                 18                                                                           ###
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  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
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